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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SWAROVSKI AKTIENGESELLSCHAFT
 AND SWAROVSKI NORTH AMERICA
 LIMITED,

                Plaintiffs,

 v.                                                    CIVIL ACTION NO. 1:20-cv-01690

                                                       JURY TRIAL DEMANDED
 THE PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A,”

                Defendants.

              PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

       Pursuant to Local Rule 26.2, this Court may, for good cause shown, enter an order directing

that one or more documents be filed under seal. Good cause exists here to temporarily seal certain

documents submitted in support of Plaintiffs’ Original Complaint. Specifically, Schedule A to the

Original Complaint includes information that identifies the Defendants’ commercial internet stores

that are selling counterfeit Swarovski products.       It has been well established that, if such

Defendants receive early notice of a lawsuit before injunctive relief can be effectuated, those

Defendants take steps to move assets beyond the reach of the Court’s jurisdiction, destroy

evidence, and/or open a new online store under a different alias. See In re Vuitton Et Fils S.A.,

606 F.2d 1, 4-5 (2nd Cir. 1979); Columbia Pictures Indus. v. Jasso, 927 F. Supp. 1075, 1077 (N.D.

Ill. 1996). In other words, if the Defendants receive notice of this suit before injunctive relief has

been obtained, Plaintiffs will be deprived of any effective remedy and further prosecution of this

action will be rendered fruitless. See Columbia Pictures Indus., 927 F. Supp. at 1077.



PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL                                                     1
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        To avoid that result, Plaintiffs respectfully and for good cause shown request that Schedule

A of the Original Complaint be sealed by the Court. But if Plaintiffs are successful in obtaining

an ex parte temporary restraining order and after it has been served on the relevant parties and

ordered actions taken, Plaintiffs will further move the Court to unseal this document.

        WHEREFORE, Plaintiffs respectfully request that the Court grant this Motion for Leave

to File Under Seal in its entirety, enter an order sealing Schedule A of the Original Complaint, and

grant Plaintiffs all other relief to which they are entitled.




 Dated: March 9, 2020


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PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL                                                   2
